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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 UNITED STATES OF AMERICA
 v.                                              CRIMINAL CASE NO.
                                                 1:17-CR-0386-01-SCJ
 MATTHEW HARRELL


                                       ORDER

      This matter is before the Court for consideration of the Reports and

Recommendations of Magistrate Judge Russell G. Vineyard [Doc. Nos. 89 and100],

to which no objections have been filed. After reviewing the Reports and

Recommendations, the are received with approval and adopted as the Opinion and

Order of this Court. Accordingly, Defendant’s First Motion to Suppress Statements

[Doc. No. 44], First Amended Motion to Suppress Statements [Doc. No. 53], Motion

for a Kastigar Hearing, or in the alternative, to Dismiss the Indictment [Doc. No. 65],

and Supplemental Motion for a Kastigar Hearing or to Dismiss the Indictment [Doc.

No. 99] are hereby DENIED.

      IT IS SO ORDERED this 26th day of December, 2018.



                                        s/Steve C. Jones
                                        STEVE C. JONES
                                        UNITED STATES DISTRICT JUDGE
